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 1                                                       HONORABLE ROBERT S. LASNIK
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 6
                                    UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 8
     IN RE SUBPOENA TO JIMMY NGUYEN
 9   _______________________________________
                                                     CASE NO. 20-mc-00026-RSL
10   IRA KLEIMAN, as the personal
     representative of the Estate of David           DECLARATION OF JIMMY
11   Kleiman; and W&K Info Defense                   NGUYEN
     Research, LLC,
12
                     Plaintiffs,
13                                                   Noting Date: April 24, 2020
             v.
14                                                   WITHOUT ORAL ARGUMENT
     CRAIG WRIGHT,
15
                     Defendant.
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     DECLARATION OF JIMMY NGUYEN                                Williams, Kastner & Gibbs PLLC
     IN SUPPORT OF NON-PARTY JIMMY                              601 Union Street, Suite 4100
     NGUYEN’S MOTION TO QUASH                                   Seattle, Washington 98101-2380
     (USDC Case No. 20-mc-00026-RSL)                            (206) 628-6600
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 1                                              DECLARATION

 2                     1.    My name is Jimmy Nguyen. I am over the age of 18, and I have

 3           personal knowledge of the facts stated in this declaration.

 4                     2.    I serve as President of the Bitcoin Association, the leading global

 5           industry organization for Bitcoin business that supports Bitcoin SV (BSV), one of the

 6           competing chains of Bitcoin. While I maintain a residence in the State of Washington,

 7           my work in the digital currency industry demands extensive international business

 8           travel.

 9                     3.    Before committing myself full-time to the Bitcoin industry, I was a

10           lawyer and partner in the Los Angeles office of Davis Wright Tremaine LLP (“DWT”).

11           In February 2017, I left DWT to join nChain Holdings Ltd (“nChain”), for which I held

12           several positions, including CEO. nChain is one of the world’s leading blockchain

13           technology companies and a key Bitcoin SV supporter.

14                     4.    In late 2018, I transitioned from nChain CEO to President of the Bitcoin

15           Association, devoting myself full-time to growing the global ecosystem for Bitcoin SV.

16           I was also appointed Chair of nChain’s Strategic Advisory Board. I subsequently began

17           using a new Bitcoin Association email account, which became my primary email

18           account.
19                     5.     As President of the Bitcoin Association, I oversee issues affecting the

20           entire Bitcoin SV business ecosystem. As the Bitcoin SV ecosystem grew, my

21           objectivity in leading the Bitcoin Association and its expanded activities became

22           essential. Therefore, in late 2019 and early 2020, I began withdrawing from numerous

23           corporate boards, including the Strategic Advisory Board of nChain on March 12, 2020.

24           As part of this process, I stopped almost all use of my nChain.com email account on or

25           about February 4, 2020 and instead used my Bitcoin Association email account.



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 1                     6.        On March 6, 2020, the IT support manager for nChain informed me

 2           about an unauthorized attempt to access my nChain.com email account. Because I was

 3           no longer using my nChain.com email, plans were developed to permanently deactivate

 4           my nChain account and avoid any further attempted breaches.

 5                     7.        My nChain email account was scheduled to be deactivated on March 13,

 6           2020, the day after my formal resignation from the nChain Strategic Advisory Board. I

 7           believe IT support ultimately deactivated my nChain email account on March 19.

 8                     8.        Since 2017, my roles for both nChain and the Bitcoin Association have

 9           required frequent and extensive international travel as a global advocate for Bitcoin. It

10           is common for me to be on the road and away from my residence for 1-2 full months,

11           and sometimes up to 3 full months. My position as Bitcoin Association President

12           requires such extensive international travel because I am one of the most visible public

13           advocates on behalf of Bitcoin SV. I frequently attend, host, and speak at a wide

14           variety of digital currency conferences, many of which the Bitcoin Association hosts

15           entirely by itself or sponsors with industry third-parties.

16                     9.        As a global industry leader for Bitcoin business, the Bitcoin Association

17           actively promotes and advertises my speaking events through its website (including on

18           the Events page at https://bitcoinassociation.net/events/) and social media accounts.
19           CoinGeek.com is considered the leading media outlet focused on Bitcoin SV news and

20           events,        regularly advertising   these   industry   conferences—and        my speaking

21           appearances—through its website and social media accounts.

22                     10.       I was a speaker at the T-Edge Conference in Beijing, China, which took

23           place December 6-8, 2019. This event, with my speaking appearance, was publicly

24           promoted through the Bitcoin Association website, the Bitcoin Association social

25           media accounts, and the T-Edge Conference website.



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 1                    11.      On December 7, 2019, I presented at the BSV China Conference in

 2           Beijing, China, which was hosted by the Bitcoin Association. This event, with my

 3           speaking appearance, was publicly promoted through the Bitcoin Association website,

 4           the Bitcoin Association social media accounts, and other media platforms.

 5                    12.      On February 1, 2020, I flew to London, UK to begin a series of

 6           consecutive business trips and conference events that were planned to last

 7           approximately 2 months.

 8                    13.        On February 8, 2020, I traveled from London to Moscow, Russia to

 9           participate in business meetings and speak at the Future of Sports & Blockchain

10           Conference on February 14, 2020. This event, with my speaking appearance, was

11           publicly promoted through the Bitcoin Association website, the Bitcoin Association

12           social media accounts, and other media platforms. I was in Moscow from February 8

13           to February 16.

14                    14.      On February 16, I returned to London to prepare for and participate in

15           the CoinGeek London 2020 Conference. That conference took place between February

16           20 and February 21, 2020.I also participated in many business meetings and related

17           events in the days before and after the CoinGeek London 2020 Conference. I was

18           ultimately in London between February 16 and February 28, 2020.
19                    15.      CoinGeek is a critical supporter of Bitcoin SV, and its global

20           conferences are the most recognized and heavily promoted blockchain events for the

21           entire Bitcoin SV ecosystem. At all CoinGeek conferences to date, including the

22           CoinGeek London 2020 event, I served as the conference host, program emcee, and

23           moderator for multiple sessions.1 These obligations required my physical presence at

24           the conference venue throughout the entire day and in highly visible settings, both on-

25           stage and off-stage. The CoinGeek London 2020 Conference was the largest CoinGeek

     1
      In the digital currency industry and media, Bitcoin SV is widely associated with Dr. Craig S. Wright. Therefore,
     Dr. Wright is also a headline speaker at every CoinGeek Conference.
     DECLARATION OF JIMMY NGUYEN                                                  Williams, Kastner & Gibbs PLLC
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                                          /s/ Scott B. Henrie
 1                                        Scott B. Henrie, WSBA #12673
                                          WILLIAMS, KASTNER & GIBBS PLLC
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                                          Seattle, WA 98101-2380
 3                                        Telephone: (206) 628-6600
                                          E-mail: shenrie@williamskastner.com
 4
                                                 and
 5
                                          /s/ Spencer H. Silverglate
 6                                        Spencer H. Silverglate, FL Bar No. 769223
                                          Pro Hac Vice Application Pending
 7                                        Trevor Gillum, FL Bar No. 1003867
                                          Pro Hac Vice Application Pending
 8                                        CLARKE SILVERGLATE, P.A.
                                          799 Brickell Plaza, Suite 900
 9                                        Miami, FL 33131-2805
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10                                        Email: ssilverglate@cspalaw.com; and
                                                  tgillum@cspalaw.com
11
                                          Attorneys for James “Jimmy” Nguyen,
12                                        Subpoenaed Individual
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     DECLARATION OF JIMMY NGUYEN                            Williams, Kastner & Gibbs PLLC
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     (USDC Case No. 20-mc-00026-RSL)                        (206) 628-6600
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                              CERTIFICATE OF FILING AND SERVICE
 1

 2           I hereby certify that on April 20, 2020, I electronically filed the foregoing with the

 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to

 4   those registered with CM/ECF.

 5           Further, I hereby certify that on April 20, 2020, I provided the foregoing to following

 6   non-CM/ECF participants via Electronic Mail/Email:

 7                            Counsel for Plaintiffs:
 8
     Emanuel Jacobowitz, WSBA #39991                    Velvel (Devin) Freedman, FL Bar No. 99762
 9   CLOUTIER ARNOLD JACOBOWITZ, PLLC                   ROCHE CYRULNIK FREEDMAN LLP
     2701 1st Ave., Ste. #200                           200 S. Biscayne Blvd, Suite 5500
10   Seattle, WA 98121                                  Miami, FL 33131
     Telephone: 206-769-3759                            Telephone: (305) 357-3861
11   Email: manny@CAJlawyers.com                        Email: vel@rcfllp.com; and
12                                                             nbermond@rcfllp.com
     Kyle W. Roche and Joseph M. Delich
13   ROCHE CYRULNIK FREEDMAN LLP                        Andrew S. Brenner
     99 Park Avenue, Suite 1910                         BOIES SCHILLER FLEXNER LLP
14   New York, NY 10016                                 100 SE 2nd Street, Suite 2800
     Email: kyle@rcfllp.com; and                        Miami, FL 33131
15   jdelich@rcfllp.com                                 Email: abrenner@bsfllp.com
16
     Counsel for Defendant:
17   Amanda McGovern
     Email: amcgovern@riveromestre.com
18
             DATED this 20th day of April, 2020.
19

20                                               /s/ Scott B. Henrie
                                                 Scott B. Henrie, WSBA #12673
21                                               WILLIAMS, KASTNER & GIBBS PLLC
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24                                               Attorneys for James “Jimmy” Nguyen,
                                                 Subpoenaed Individual
25



     DECLARATION OF JIMMY NGUYEN                                        Williams, Kastner & Gibbs PLLC
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     (USDC Case No. 20-mc-00026-RSL)                                    (206) 628-6600
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


                        Civil Action No. 18-cv-80176-BLOOM-Hopkins

 IRA KLEIMAN, as the personal
 representative of the Estate of David
 Kleiman, and W&K Info Defense
 Research, LLC
                Plaintiffs,

 vs.
 CRAIG WRIGHT,

                Defendant.

                  PLAINTIFFS’ RULE 26 (A)(1) INITIAL DISCLOSURES

       Pursuant to Federal Rule of Civil Procedure 26(a)(1) and the Court’s March 11, 2018 order

setting, Plaintiffs Ira Kleiman as personal representative of the estate of David Kleiman, and W&K

Info Defense Research, LLC (“W&K”) provide the following initial disclosures:

                                PRELIMINARY STATEMENT

       These disclosures are based upon information available to Plaintiffs as of the date of this

document. By making these disclosures, Plaintiffs do not represent they are identifying each and

every document, individual, or other evidence they may use in support of their claims. Rather,

Plaintiffs have made a good faith effort to gather and provide information subject to disclosure

under Rule 26(a)(1) and Plaintiff reserves the right to supplement or modify these disclosures as

additional information is discovered.

       These disclosures are also not intended to waive any right to object to the production

of any document or tangible thing disclosed on the basis of any privilege, work-product doctrine,

relevancy, undue burden, or any other valid objection. No incidental or implied admissions

are intended by the disclosures herein.



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A.      Individuals Plaintiffs may use to support their claims (Fed. R. Civ. P. 26(a)(1)(A)(i))

        Plaintiffs’ investigation is ongoing and Plaintiff reserves the right to supplement the list

of individuals disclosed below. Plaintiff provides the name and, if known, the address and

telephone number of each individual likely to have discoverable information that Plaintiff may

use to support his claims or defenses, unless solely for impeachment, identifying the subjects

of the information, as follows:

     1. Ira Kleiman, Plaintiff. Ira Kleiman possesses information related to Craig Wright

        (“Craig”) and David Kleiman’s (“Dave”) collaboration on creating Bitcoin, mining

        bitcoins, and developing valuable intellectual property, as well as Craig’s subsequent theft

        of these assets. Mr. Kleiman may be contacted through undersigned counsel.

     2. Craig Wright, Defendant. Craig possesses information related to the relationship between

        himself, Dave, and W&K, including the extent and nature of Dave and Craig’s partnership

        and collaboration in creating Bitcoin, mining bitcoins, and developing various valuable

        intellectual properties/trade secrets, and the agreements understandings, and ownership

        structure that arose from those collaborations and partnerships; the actions taken by Craig

        before and after the time Dave died to take control over bitcoins, intellectual property, and

        trade secrets belonging to Dave’s estate and/or W&K; how Craig has subsequently used

        and/or saved these assets; and various trusts identified by Craig where Dave’s bitcoins may

        be held; and the actual and constructive fraud perpetuated by Craig against Plaintiffs. Craig

        may be contacted care of his counsel.

     3. Patrick Paige. Mr. Page possesses information related to Craig and Dave’s collaboration

        in creating Bitcoin, mining bitcoins, and Craig’s use of intellectual property developed by

        Dave. Mr. Paige’s office is located at 933 S. Military Trl., Suite E8, West Palm Beach,




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   Florida 33415. His phone number is 561.404.3074.

4. Uyen Nguyen. Ms. Nguyen possesses information related to the relationship between

   Craig, Dave, and W&K, including the extent and nature of their partnership and

   collaboration in creating Bitcoin, mining bitcoins, and developing various valuable

   intellectual properties/trade secrets, and the agreements understandings, and ownership

   structure that arose from those collaborations and partnerships; the actions taken by Craig

   before and after Dave died to take control over bitcoins, intellectual property, and trade

   secrets belonging to Dave’s estate and/or W&K; how Craig has subsequently used and/or

   saved these assets; and various trusts identified by Craig where Dave’s bitcoins may be

   held. The undersigned is not currently aware of Ms. Nguyen’s whereabouts, but Defendant

   indicated she’s located in California. (DE 12-2 at 4).

5. Andrew O’Hagan. Mr. O’Hagan possesses information related to the relationship between

   Craig, Dave, and W&K, including the extent and nature of their partnership and

   collaboration in creating Bitcoin, mining bitcoins, and developing various valuable

   intellectual properties/trade secrets. The undersigned is not currently aware of Mr.

   O’Hagan’s contact information.

6. Ramona Watts. Ms. Watts is Defendant’s wife and possesses information related to the

   relationship between Craig, Dave, & W&K, including the extent and nature of their

   partnership and collaboration in creating Bitcoin, mining bitcoins, and developing various

   valuable intellectual properties/trade secrets, and the agreements understandings, and

   ownership structure that arose from those collaborations and partnerships; the actions taken

   by Craig before and after the time Dave died to take control over bitcoins, intellectual

   property, and trade secrets belonging to Dave’s estate and/or W&K; how Craig has




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        subsequently used and/or saved these assets; and various trusts identified by Craig where

        Dave’s bitcoins may be held; and the actual and constructive fraud perpetuated by Craig

        against Plaintiffs. Ms. Watts can be contacted at 21 Harebell Hill, Cobham, Surrey, KT11

        2RS, England.

     7. Bob Radvanovky. Mr. Radvanovsky possess information related to the formation and

        purpose of W&K. Counsel believes Mr. Radvanovky’s phone number is 630-673-7740.

B.      Documents in Plaintiff’s Custody, Possession or Control that May Be Used to Support
        His Claims (Fed. R. Civ. P. 26(a)(1)(A)(ii))

        Plaintiffs’ investigation is ongoing and Plaintiffs reserves the right to supplement the list

of categories disclosed below. Plaintiffs provides the following description by category and

location (Plaintiffs’ counsel’s office) of all documents, data compilations, and tangible

things in their possession, custody, or control that they may use to support their claims or

defenses, unless solely for impeachment as follows:

     1. Documentation Plaintiffs attached to the complaint and amended complaint filed in this
        action;

     2. Documentation received from the court of New South Wales relating to Craig and
        Plaintiffs’ bitcoins, relationship, intellectual property, trade secrets, and Craig’s claims and
        actions related to them;

     3. Documentation received from the Australian Tax Office relating to Craig and Plaintiffs’
        bitcoins, relationship, intellectual property, trade secrets, and Craig’s claims and actions
        related to them;

     4. Documentation received from Craig.

C.      Damages (Fed. R. Civ. P. 26(a)(1)(A)(iii))

        Plaintiffs’ investigation is ongoing and Plaintiffs reserve the right to supplement the

information provided concerning damages. As set forth in the Amended Complaint, Plaintiffs

have suffered significant damages in the form of Craig having stolen their bitcoins and intellectual

property rights. During the time these assets were, and are, held by Craig, they have been worth



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between ~$201,728,340.04 and more than $27,332,125,781.68, before punitive or treble damages

and exclusive of attorney’s fees and costs. Plaintiffs have also been damaged as a result of Craig’s

actual and constructive fraud, but have not yet calculated the precise amount of those damages.

Plaintiffs have not yet identified an expert or experts to be called to testify as to damages at trial

and to assist in the calculation of the amount of damages Plaintiff will seek at trial. As discovery

in this matter has not yet commenced, Plaintiffs will supplement this initial disclosure statement

with any additional information uncovered regarding damages.

D.     Insurance Agreements (Fed. R. Civ. P. 26(a)(1)(A)(iv))

       Plaintiffs are not aware of any insurance agreement under which any insurance

business may be liable to satisfy all or part of a possible judgment in the action or to indemnify

or reimburse for payments made to satisfy the judgment.

E.     Reservation of Rights
       Discovery is ongoing. Plaintiffs reserve: (a) their right to supplement any information in

this    disclosure;    (b)     all    objections     to    the     admissibility     of    documents

and/or witnesses disclosed by any party; and (c) their right to use as evidence any documents

and/or witness testimony disclosed by any party or filed in this action.


 Dated: May 25, 2018.                               Respectfully submitted,

                                                    s/ Velvel (Devin) Freedman
                                                    Velvel (Devin) Freedman, Esq.
                                                    BOIES SCHILLER FLEXNER LLP
                                                    100 SE Second Street, Suite 2800
                                                    Miami, Florida 33131
                                                    Telephone: (305) 539-8400
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                                                    Kyle W. Roche, Esq.
                                                    Admitted Pro Hac Vice
                                                    BOIES SCHILLER FLEXNER LLP
                                                    333 Main Street



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                                                 Armonk, NY10504
                                                 Telephone: (914) 749-8200
                                                 Facsimile: (914) 749-8300
                                                 kroche@bsfllp.com

                                                 Counsel to Plaintiff Ira Kleiman as Personal
                                                 Representative of the Estate of David Kleiman
                                                 and W&K Info Defense Research, LLC.


                                CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on May 25, 2018, a true and correct copy of the
foregoing was served on all counsel of record identified on the Service List below via e-mail:

 Andres Rivero, Esq.
 Jorge A. Mester, Esq.
 Alan H. Rolnick, Esq.
 Daniel Sox, Esq.
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                                                  /s/ Velvel (Devin) Freedman
                                                  Velvel (Devin) Freedman




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